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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANGELA LYNNE MARTIN,                         :     No. 4:15-CV-02034
Individually and as Administratrix of        :
the ESTATE OF HOWARD                         :     (Judge Brann)
EDWARD MARTIN, JR.,                          :
                                             :
                   Plaintiff                 :
      v.                                     :
                                             :
NORFOLK SOUTHERN RAILWAY                     :
COMPANY, TODD MICHAEL                        :
BUBNIS, JAMES ERNEST                         :
MOFFETT, and CLINTON TOWNSHIP,               :
                                             :
                   Defendants                :     (Filed Electronically)

                                   Stipulation

      It is hereby stipulated to by and among Plaintiff, Angela L. Martin, by her

counsel Edward S. Shensky, Esquire, and Jeffrey A. Krawitz, Esquire, and

Defendants, Norfolk Southern Railway Company, Todd Bubnis and James Moffett

by their counsel, Craig J. Staudenmaier, Esquire, and Clinton Township by its

counsel, David MacMain, Esquire, for purposes of this action only, as follows:

      1.    The claims asserted by Plaintiff against Todd M. Bubnis and James E.

Moffett are dismissed with prejudice upon the condition that Norfolk Southern

will make Mr. Moffett, who is still an employee of Norfolk Southern, available for


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trial and will use its best efforts to make Mr. Bubnis available, as he is no longer

an employee, including providing plaintiffs’ counsel with his last known address

and contact information, should they choose to call him as a witness at trial;

      2.     Plaintiff will not assert at trial any claims against Norfolk Southern

Railway Company related to or arising out of a claim for lack of advanced warning

signs or pavement markings in accordance with the requirements of the MUTCD,

specifically Sections 8B.04 and 8B.06. Further, Plaintiffs will not assert any

claims against Norfolk Southern at trial related to the construction or maintenance

of Brick Church Road; and

      3.     In consideration of the above stipulations, Norfolk Southern Railway

Company and Clinton Township will withdraw with prejudice their respective

crossclaims as to the other.




By: _________________________________                Date: _________________
    Edward S. Shensky, Esquire
    Jeffrey A. Krawitz, Esquire
    Stark & Stark, P.C.
    777 Township Line Road, Suite 120
    Yardley, PA 19067
    Counsel for Plaintiff




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